Case 2:23-mj-06371-DUTY Document 1

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“LEBEL

UNITED STATES DISTRICT COURT

CENTRAL DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA

PLA INTIFE(S)

CASE NUMBER

8:23C R86

Vv.

MJ 23-06371

RICHARD WESLEY MARSHALL

DEFENDANT(S).

DECLARATION RE
OUT-OF-DISTRICT WARRANT

The above-named defendant was charged by: Superseding Indictment

in the District of Nebraska on 11/14/23
at CJa.m./[) p.m. The offense was allegedly committed on or about

in violation of Title 21 & 18 US.C., Section(s) 846, 1956

to wit:

A warrant for defendant's arrest was issued by: DENISE M. LUCKS, CLERK OF THE COURT

Bond of $ was [] set /[T recommended.

Type of Bond:

Relevant document(s) on hand (attach):

I declare under penalty of perjury that the foregoing is true and correct.

Executed on 1213/2 s
i

ate
[Ee —S
Signaturesit-Agent
US Marshals Service
Agency

kK. Sath

Print Name of Agent

Deputy US Marshal

Title

CR-52 (03/20) DECLARATION RE OUT-OF-DISTRICT WARRANT
